                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


    MARGARET CZERWIENSKI,
    LILIA KILBURN, and AMULYA
    MANDAVA

         Plaintiffs,
                                                              Case No. 1:22-cv-10202-JGD
    v.

    HARVARD UNIVERSITY AND THE
    PRESIDENT AND FELLOWS OF
    HARVARD COLLEGE

         Defendant.

    PLAINTIFFS’ MOTION FOR LEAVE TO FILE REDACTED VERSIONS OF SEALED
    EXHIBITS FILED IN SUPPORT OF HARVARD’S MOTIONS TO DISMISS AND FOR
                        PARTIAL SUMMARY JUDGMENT

         Plaintiffs move to file redacted versions of sealed Exhibits A–C to Harvard’s Motion to

Dismiss (Dkts. 19–20) and Exhibits 16–17 and 19–21 to Harvard’s Motion for Partial Summary

Judgment (Dkts. 24–29) for the public record.1

                                            INTRODUCTION

         This action raises issues of immense public importance that call for public justice: the

systemic deliberate indifference of one of the world’s leading universities to sexual harassment

and retaliation by powerful professors. This case has been covered four times in The New York

Times and The Boston Globe, twice in The Washington Post, and by myriad other publications

worldwide. These media reports have recognized the implications of this case for the ways




1
 As noted in Harvard’s initial Motion to Seal, Plaintiffs indicated that they do not object to the filing of the
documents at issue under seal provisionally, but reserved their right to address the sealing at a future date.
See Dkt. 18 at 5. The Court granted Harvard’s motion on June 2, 2022 (Dkt. 31). Plaintiffs file their
proposed redacted exhibits provisionally under seal.

                                                       1
universities respond to faculty who sexually harass their students.2 The Harvard community in

particular has watched this case with intense concern.3 For its part, Harvard has told the public—

both in its statements to the press and now in its Motions to Dismiss and for Partial Summary

Judgment—that this case shows its system worked.4 It has further accused Plaintiffs of “chilling”

students from reporting harassment with their complaint, which shines a light on the university’s

systemic failures.



2
  See, e.g., Anemona Hartocollis, A Lawsuit Accuses Harvard of Ignoring Sexual Harassment by a
Professor, N.Y. Times (Feb. 8, 2022), https://www.nytimes.com/2022/02/08/us/harvard-sexual-
harassment-lawsuit.html; Michael Levenson and Anemona Hartocollis, Colleagues Who Backed Harvard
Professor Retract Support Amid Harassment Claims, N.Y. Times (Feb. 9, 2022),
https://www.nytimes.com/2022/02/09/us/harvard-sexual-harassment-letter.html; Michelle Goldberg,
Paranoia About #MeToo Overreach at Harvard, N.Y. Times (Feb. 10, 2022),
https://www.nytimes.com/2022/02/10/opinion/harvard-john-comaroff.html; Anemona Hartocollis, After
Sexual Harassment Lawsuit, Critics Attack Harvard’s Release of Therapy Records, N.Y. Times (Feb. 15,
2022), https://www.nytimes.com/2022/02/15/us/harvard-kilburn-therapy-records.html; Laura Krantz,
Three Graduate Students File Sexual Harassment Suit Against Prominent Harvard Anthropology
Professor, The Boston Globe (Feb. 8, 2022), https://www.bostonglobe.com/2022/02/08/metro/3-graduate-
students-file-sexual-harassment-suit-against-prominent-harvard-anthropology-professor/; Laura Krantz,
Harvard Professors Drop Support for Colleague Accused of Sexual Harassment, The Boston Globe (Feb.
9, 2022), https://www.bostonglobe.com/2022/02/09/metro/professors-drop-support-colleague-accused-
sexual-harassment/; The Boston Globe Editorial Board, Victims of Sexual Harassment on College
Campuses Deserve Independent Investigations, The Boston Globe (Mar. 7, 2022),
https://www.bostonglobe.com/2022/03/07/opinion/victims-sexual-harassment-college-campuses-deserve-
independent-investigations/; Laura Krantz, It’s Time to Fix the Vast Power Disparity Between University
Graduate Students and Advisers, Critics Say, The Boston Globe (Apr. 5, 2022),
https://www.bostonglobe.com/2022/04/05/metro/its-time-fix-vast-power-disparity-between-graduate-
students-advisers-critics-say/; Susan Svrluga, At Harvard, Sexual Misconduct Allegations Prompt
Questions, Retractions and Vows to Do Better, The Washington Post (Feb. 10, 2022),
https://www.washingtonpost.com/education/2022/02/10/harvard-sexual-misconduct-comaroff/; Daniel W.
Drezner, Harvard Did a Bad, Bad Thing, The Washington Post (Feb. 9, 2022),
https://www.washingtonpost.com/outlook/2022/02/09/harvard-did-bad-bad-thing/.
3
  See, e.g., Isabella B. Cho and Ariel H. Kim, Lawsuit Alleges Harvard Ignored Sexual Harassment
Complaints Against Prof. John Comaroff for Years, The Harvard Crimson (Feb. 9, 2022) (among over a
dozen     articles    on   the    case    by   the    University’s  daily   student    newspaper),
https://www.thecrimson.com/article/2022/2/9/comaroff-lawsuit/.
4
    University Spokesperson Nicole Merhill, Harvard Statements (Feb. 10–18, 2022),
https://www.harvard.edu/media-relations/2022/02/10/harvard-statements/; Dkt. 20 at 2 (alleging that
Harvard followed a “searching and thorough process” and “repeatedly took appropriate action, culminating
in four thorough investigations, interim measures provided to Plaintiffs, and sanctions issued against
Comaroff”).

                                                   2
         Students and the public have the right to understand the parties’ positions on how Harvard

investigates and adjudicates complaints of sexual harassment and retaliation lodged against

prominent professors, as well as the factual basis for those positions. Such public access to judicial

records is “essential . . . to . . . maintain[ ] public confidence in the administration of justice,”

Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 595 (1980) (Brennan, J., concurring). It

allows the public to “monitor the functioning of our courts, thereby insuring quality, honesty and

respect for our legal system.” F.T.C. v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 410 (1st Cir.

1987).

         Yet Harvard now seeks to seal the key documents on which it relies in its motions before

this Court and in its public statements of non-responsibility, asking the Court to rule on the public

issues presented here based on a secret record. In its Motion to Seal (Dkt. 18) (“Motion”), Harvard

has sought to seal the three final Reports of the Harvard Office of Dispute Resolution’s

investigation into Plaintiffs’ complaints (“the ODR Reports”), Defs’ Mot. at 2, even though

Harvard’s Motion to Dismiss relies almost entirely on those reports to argue that Harvard is not

liable under Title IX, Mot. to Dism. (Dkt. 20) at 2, 8–10 (arguing that Plaintiffs’ allegations boil

down to a “disagreement with the outcome” of Harvard’s investigation and heavily citing the

reports in an attempt to show the investigation was adequate). The effect of permanently sealing

these records would be to cloak these proceedings in secrecy, hiding from public view not only

these records but briefing that discusses their contents. This course turns the presumption of public

justice on its head. These records should be public with limited redactions to the names of third-

party witnesses and students. See Exs. 1–3.

         Harvard has also sought to seal documents that is says justify summary judgment on Count

Ten, which claims that Harvard obtained Plaintiff Lilia Kilburn’s confidential therapy records and



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disclosed them to her harasser, in violation of protections for physician-patient relationships and

her right to privacy under Massachusetts law. See Mot. at 3–4. In fact, these documents—which

reflect communications between Harvard officials, Ms. Kilburn’s therapist, and Ms. Kilburn—

support Ms. Kilburn’s claims. These communications, too, should be public and redacted only to

prevent further disclosure of Ms. Kilburn’s sensitive conversations with her therapist. Such

disclosures are essential to the public’s right to understand these proceedings.

                                           ARGUMENT

       Courts recognize a “presumption that the public has a right to see and copy judicial

records.” Standard Fin. Mgmt., 830 F.2d at 412. “Only the most compelling reasons can justify

non-disclosure of judicial records.” Id. at 410.

       When the court reviews a request to seal judicial records, “the scales tilt decidedly toward

transparency.” Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 70 (1st Cir. 2011). The “privacy

rights of participants and third parties” can justify sealing “in appropriate cases,” but the court

must “consider the degree to which the subject matter is traditionally considered private rather

than public,” the relevance of the information to the case, and whether the privacy interests at issue

overcome the public’s right to monitor judicial proceedings. United States v. Kravetz, 706 F.3d 47,

56, 58, 62–63 (1st Cir. 2013). And the party seeking sealing must adduce specific facts to show

that sealing is justified. “The First Circuit has repeatedly emphasized that ‘sealing of judicial

documents must be based on a particular factual demonstration of potential harm, not on

conclusory statements.’” Arkansas Tchr. Ret. Sys. v. State St. Bank & Tr. Co., No. CV 11-10230-

MLW, 2018 WL 11316801, at *2 (D. Mass. June 28, 2018) (quoting Kravetz, 706 F.3d at 60).

       When a document does contain information that implicates privacy or other compelling

interests that overcome the right of public access, sealing the whole document is seldom required.



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In such cases, “it is proper for a district court, after weighing competing interests, to edit and redact

a judicial document in order to allow access to appropriate portions of the document.’” Kravetz,

706 F.3d at 62 (quoting United States v. Amodeo, 44 F.3d 141, 147 (2d Cir. 1995)); see further

Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 419 (5th Cir. 2021) (explaining that courts “must

undertake a case-by-case, document-by-document, line-by-line balancing of the public’s common

law right of access against the interests favoring nondisclosure,” and “[s]ealings must be explained

at a level of detail” to permit such review) (internal quotation marks omitted).

        A. The Court Should Unseal the ODR Reports with Limited Redactions

        Harvard does not justify sealing the entire ODR Reports of its inadequate investigation into

Plaintiffs’ complaints. Harvard’s sole argument to seal the ODR Reports is the conclusory

assertion that they “reveal highly personal, confidential, and sensitive information about the named

Plaintiffs and other witnesses who were interviewed or involved with the investigation,” and

Harvard speculates that “revealing the ODR reports in full may have a chilling effect on student

and other witness participation in the Title IX investigatory process at Harvard.” Harvard Mot. at

3. In support, Harvard cites a single contested case—DeCosta v. Chabot—in which the court

sealed investigative reports “to encourage reports and to protect the reporters.” No. CIV. 92-425-

M, 1994 WL 279739, at *2 (D.N.H. June 9, 1994) (where parties accused of child abuse sought

disclosure of inquiry made confidential by state law). Here, the “reporters” (the Plaintiffs) are the

ones who seek transparency.5 Their privacy is not at issue.




5
 The two cases Harvard cites in which the court sealed Harvard’s investigative reports were based on
assented-to motions, where the complainants likewise agreed to seal the reports of investigations into their
own complaints. Doe v. Harvard University, et al., Civ. Action No. 1:18-cv-12150-IT, Dkt. 25; Leader v.
Harvard University Board of Overseers, et al., Civ. Action No. 1:16-cv-10254-DJC, Dkt. 21. Harvard cites
no case in which a court has granted an opposed motion to seal such reports in a Title IX case.


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          As to witnesses, Harvard does not explain what “sensitive information” it contends the

ODR Reports contain. The original ODR Reports are already designed to protect witnesses’

identities: they refer to all witnesses with a number (e.g., “Witness 1” and “Person A”) and only

identify them in a key that ODR redacts before distributing the reports.6 The reports are therefore

ready to be released in redacted form without identifying witnesses. This Court’s task is thus

simple: It need order sealing and redaction only of the names of all students7 and other non-Harvard

employees whose identities are not revealed by the Complaint (Dkt. 1) or Amended Complaint

(Dkt. 35).8

          Nor do the ODR Reports contain any personal information that would otherwise implicate

the privacy interests of third parties. They do not discuss the details of harassment or abuse directed

toward any person other than the Plaintiffs themselves. That is because, contrary to Title IX, ODR

ignores past reports of misconduct against the same perpetrator when it evaluates later complaints.

The public (including other Harvard students) should be allowed to see for themselves the basis

for this conclusion.




6
    Plaintiffs received only this redacted version in the course of their participation in ODR’s investigation.
7
 These redactions moot Harvard’s vague claim that unspecified “FERPA protections … for other [students]
who are discussed in the reports” justify sealing. Mot. at 3. Harvard does not even explain what “FERPA
protections” might apply here. See id. As explained above, the reports do not contain any other non-public
personal or sensitive information about third-party students.
8
  Plaintiffs already identified the names of most of these Harvard employees—including Professors John
and Jean Comaroff and Dr. Seth Avakian—in their Complaint. See Kravetz, 706 F.3d at 63 (“[P]rior
publicity weighs strongly against sealing.”). Harvard does not provide any evidence that the public
disclosure of the few other faculty who participated in the process would prevent it from obtaining relevant
evidence from its own employees, whom Harvard can and does require to report information about alleged
sexual misconduct. See Sexual and Gender-Based Harassment Policy and Procedures for the Faculty of
Arts And Sciences (Dkt. 28-2) at 10–11.

                                                        6
        B. The Court Should Unseal the Exhibits to Harvard’s Motion for Partial Summary
           Judgment with Redactions to Protect Ms. Kilburn’s Therapy Records

        Ms. Kilburn also seeks the unsealing of redacted copies of the following: 1) Harvard’s

notes of its interview with her therapist, 2) Harvard’s notes of its final interview with Ms. Kilburn,

and 3) Harvard’s communications with Ms. Kilburn’s therapist, Ms. Kilburn, and Professor

Comaroff transmitting her private therapy notes. The sole privacy interest implicated here is Ms.

Kilburn’s, and it has already been vitiated by Harvard. Ms. Kilburn seeks a public accounting of

those actions.

        As Plaintiffs’ anticipated Opposition to Harvard’s Motion for Partial Summary Judgment

will show, these documents bear directly on the careless way that Harvard obtained and handled

Ms. Kilburn’s private medical information: they expose, for example, that Harvard’s investigators

engaged in a free-wheeling conversation with Ms. Kilburn’s therapist about her treatment, asked

questions unrelated to the allegations against Professor Comaroff, and solicited Ms. Kilburn’s

therapy notes without confirming that Ms. Kilburn had given her therapist the requisite permission

to disclose the notes or even referencing such a release. See Dkts. 24–29 at Exs. 16–21.

        Harvard’s audacious proposal that the Court render judgment on Ms. Kilburn’s claim based

on secret evidence and before discovery should be rejected. The public has a right to see the basis

for Harvard’s claim. Ms. Kilburn’s proposed redactions cover the therapy records themselves and

descriptions of highly sensitive conversations between Ms. Kilburn and her therapist. See Exs. 4–

8. These redactions protect the confidentiality interests at issue. Harvard’s Motion does not explain

why the portions of these documents that do not describe Ms. Kilburn’s therapy records should be

sealed. See Mot. at 3–4. This is its burden, and it fails to carry it.




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                                          CONCLUSION

       The Court should therefore grant this Motion for Leave to file the attached redacted copies

of the sealed exhibits for the public record.



Dated: June 22, 2022                            Respectfully submitted,

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                                                Attorneys for Plaintiffs




                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

       I hereby certify that I have conferred with counsel for Defendant in a good faith attempt to

resolve or narrow the issue. Defendant opposes the requested relief.


                                                       /s/ Carolin Guentert
                                                       Carolin Guentert




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